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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

ASSOCIATED INDUSTRIES
INSURANCE COMPANY                                                                      PLAINTIFF

V.                                                   CIVIL ACTION NO. 3:17-CV-37-DPJ-FKB

BRAD WILLIAMS, LLC, ET AL.                                                         DEFENDANTS

                                             ORDER

       The parties in this insurance-coverage declaratory-judgment action have filed cross-

motions for summary judgment, seeking a decision on the meaning of a policy’s interrelated-

wrongful-acts provision. For the reasons that follow, Plaintiff’s Motion for Partial Summary

Judgment [45] is granted, and Defendants’ Motions for Summary Judgment [47, 49] are denied.

The Court will, however, certify its Order for interlocutory appeal.

I.     Facts and Procedural History

       This Order decides which insurance policy covers a series of civil suits filed against

Defendants Brad Williams, LLC, and RevClaims, LLC (collectively “RevClaims”). RevClaims

“assisted hospitals and healthcare centers nationwide by asserting liens on potential third party

recovery sources that could fully satisfy charges and costs incurred by patients.” Defs.’ Mem.

[48] at 2. Defendant Landmark American Insurance Company (“Landmark”) insured RevClaims

through May 1, 2016, at which point RevClaims swiched its coverage to Plaintiff Associated

Industries Insurance Company (“AIIC”). Significantly, both policies were claims-made policies,

providing coverage for claims first made against RevClaims during the respective policy periods,

no matter when the conduct giving rise to the claims occurred. But the AIIC policy also included

an interrelated-wrongful-acts provision, under which related claims were considered made at the
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time of the first such claim. So the question is whether claims filed during the AIIC policy

period are related to a claim filed during Landmark’s policy period.

       The first of the four claims against RevClaims at issue was filed on February 27, 2016—

during the Landmark policy period. In that case, Elizabeth Wiggins sued RevClaims in the

Circuit Court of Mobile County, Alabama, related to medical treatment she received following a

September 1, 2015 motorcycle accident. Wiggins says her medical providers wrongfully

engaged RevClaims to file a lien against her instead of billing her health insurer, BlueCross

BlueShield of Alabama, at its negotiated reimbursement rates. Landmark is providing

RevClaims with a defense in the Wiggins case.

       The three subsequent suits were filed during the AIIC policy period. First, on July 7,

2016, Tammy Hargett filed a class-action lawsuit against RevClaims and other entities in the

Circuit Court of Craighead County, Arkansas. Hargett, an Arkansas Medicaid recipient, received

treatment for injuries sustained in a motor-vehicle accident in July 2015. Like Wiggins, Hargett

says her medical provider hired RevClaims to file a lien against her for the full amount of its bill

rather than submitting the bill to Medicaid at the reduced rate Medicaid had negotiated. Hargett

seeks to pursue claims on behalf of

       [a]ll persons who were Arkansas Medicaid-eligible beneficiaries and received
       Medicaid-covered services from [the d]efendants [in Hargett] for injuries
       sustained in an incident for which a third party was potentially liable whose
       subsequent claim against that third party was impaired by the filing of a lien for
       the full charge of the services.

Hargett Compl. [1-2] ¶ 47. On September 8, 2016, AIIC agreed to defend RevClaims with

regard to the Hargett case under a full reservation of rights.

       RevClaims received a second class-action complaint on August 19, 2016. Sue Garrison,

the named plaintiff, was involved in an August 2013 motor-vehicle accident. Although Garrison

had health insurance through a qualified health plan offered under the Arkansas health-insurance
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exchange, she says one of her medical providers employed RevClaims to assert a lien against her

in lieu of billing her health insurer. Garrison seeks to pursue claims on behalf of a class

including

       [a]ll persons who were insured under an Arkansas [qualified health plan] and
       received covered services from [the defendant] healthcare providers [in Garrison]
       for injuries sustained in an incident for which a third party was potentially liable
       whose subsequent claim against that third party was impaired by the filing of a
       lien by [RevClaims] for a charge for services in an amount in excess of the
       negotiated contract rate with the [qualified health plan] insurer.

Garrison Compl. [1-4] ¶ 76.1 Garrison was represented by the same attorneys that represent

Hargett, and AIIC agreed to defend RevClaims with respect to the Garrison case under a full

reservation of rights.2

       Alicia Pledger filed the fourth and final lawsuit against RevClaims on September 14,

2016, in the Circuit Court of Mobile County, Alabama. Pledger, a Blue Cross and Blue Shield of

Alabama insured, is represented by the same attorneys representing Wiggins in the first-filed

action. Like the others, Pledger says her medical provider retained RevClaims to file a lien

against her for the full amount of her medical bills rather than billing Blue Cross and Blue Shield

of Alabama at its negotiated reimbursement rates. RevClaims tendered the Pledger case to

Landmark, which agreed to defend RevClaims under a reservation of rights. By letter dated

November 8, 2016, AIIC also agreed to defend RevClaims in the Pledger action under a full

reservation of rights.




       1
         The quoted language describes one of six proposed sub-classes in Garrison. All
proposed sub-classes include only individuals insured under Arkansas-insurance-exchange
qualified health plans.
       2
       The Garrison lawsuit has since “been dismissed with a final judgment in favor of
RevClaims.” RevClaims Countercl. [30] ¶ 16.
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       After agreeing to defend the Pledger action, AIIC discovered the Wiggins case and that

Landmark had agreed to defend RevClaims in Wiggins and Pledger. AIIC then concluded that

all four claims involved interrelated wrongful acts and therefore were first made during the

Landmark policy period. Accordingly, AIIC filed this lawsuit against RevClaims and Landmark

on January 18, 2017. It seeks a “declaration that it has no obligation to . . . RevClaims . . . with

regard to the” Wiggins, Hargett, Garrison, or Pledger cases. Compl. [1] ¶ 57. It also seeks

contribution and equitable subrogation for amounts it has already incurred defending RevClaims

in the Hargett and Garrison cases.

       Landmark and RevClaims both filed counterclaims against AIIC. Landmark seeks

equitable subrogation “for all funds Landmark pays in connection with the defense of RevClaims

. . . in the Pledger Action.” Landmark Countercl. [10] ¶ 19. RevClaims seeks an adjudication

“that AIIC is obligated to pay indemnity and provide coverage and defense to the limits of the

AIIC policy regarding the Hargett and Garrison cases.” RevClaims Countercl. [30] ¶ 20.

Following the close of discovery, the parties filed their cross-motions for summary judgment,

which have been fully briefed. The Court has personal and subject-matter jurisdiction.

II.    Standard

       Summary judgment is warranted under Federal Rule of Civil Procedure 56(a) when

evidence reveals no genuine dispute regarding any material fact and that the moving party is

entitled to judgment as a matter of law. The rule “mandates the entry of summary judgment,

after adequate time for discovery and upon motion, against a party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and on which that

party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).




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       The party moving for summary judgment “bears the initial responsibility of informing the

district court of the basis for its motion, and identifying those portions of [the record] which it

believes demonstrate the absence of a genuine issue of material fact.” Id. at 323. The

nonmoving party must then “go beyond the pleadings” and “designate ‘specific facts showing

that there is a genuine issue for trial.’” Id. at 324 (citation omitted). In reviewing the evidence,

factual controversies are to be resolved in favor of the nonmovant, “but only when . . . both

parties have submitted evidence of contradictory facts.” Little v. Liquid Air Corp., 37 F.3d 1069,

1075 (5th Cir. 1994) (en banc). When such contradictory facts exist, the court may “not make

credibility determinations or weigh the evidence.” Reeves v. Sanderson Plumbing Prods., Inc.,

530 U.S. 133, 150 (2000). Conclusory allegations, speculation, unsubstantiated assertions, and

legalistic arguments have never constituted an adequate substitute for specific facts showing a

genuine issue for trial. TIG Ins. Co. v. Sedgwick James of Wash., 276 F.3d 754, 759 (5th Cir.

2002); Little, 37 F.3d at 1075; SEC v. Recile, 10 F.3d 1093, 1097 (5th Cir. 1993).

III.   Analysis

       A.      Summary-Judgment Motions

       The three summary-judgment motions all hinge on the meaning of AIIC’s interrelated-

wrongful-acts clause. Under controlling Mississippi law on contract construction, the Court

should “read the policy as a whole, considering all the relevant portions together and, whenever

possible, should give operable effect to every provision in order to reach a reasonable overall

result.” J & W Foods Corp. v. State Farm Mut. Auto. Ins. Co., 723 So. 2d 550, 552 (Miss. 1998).

The Court “must give effect to the plain meaning of [an insurance policy’s] clear and

unambiguous language.” Robley v. Blue Cross/Blue Shield of Miss., 935 So. 2d 990, 996 (Miss.

2006). Where the terms are unambiguous, the Court construes them as a matter of law. Lewis v.



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Allstate Ins. Co., 730 So. 2d 65, 68 (Miss. 1998). Finally, the Court must decide the coverage

question by comparing the policy language to the allegations in the underlying complaints.

Minn. Life Ins. Co. v. Columbia Cas. Co., 164 So. 2d 954, 970 (Miss. 2014). The Court

therefore begins with the policy language and then applies it to the undisputed facts.

          The AIIC Policy provides coverage “FOR ONLY THOSE CLAIMS THAT ARE FIRST

MADE AGAINST THE INSURED DURING THE POLICY PERIOD.” AIIC Policy [1-1] at

11. Where multiple claims are asserted “alleging, based upon, arising out of or attributable to the

same Wrongful Act(s) or Interrelated Wrongful Acts,” the policy “treat[s them] as a single Claim

. . . considered first made during the Policy Period . . . in which the earliest Claim arising out of

such Wrongful Act(s) or Interrelated Wrongful Acts was first made.” Id. at 19.

          Claim, Wrongful Act, and Interrelated Wrongful Acts are all defined terms in the policy.

The policy defines Claim as “a written demand received by the Insured for monetary Damage

which alleges a Wrongful Act.” Id. at 12. A Wrongful Act is “any actual or alleged negligent

act, error, or omission committed or attempted in the rendering or failing to render Professional

Services.” Id. at 16. Finally, and most significantly, the policy defines Interrelated Wrongful

Acts as

          Wrongful Acts that are causally or logically related and include all Wrongful Acts
          that have as a common nexus any fact, circumstance, situation, or event, or which
          are the same, related or continuous acts, regardless of whether the Claim or
          Claims alleging such acts involve the same or different claimants, Insureds or
          legal causes of action.

Id. at 14.

          Turning to the facts, all four lawsuits allege that RevClaims: (1) contracted with

healthcare providers to collect payments; (2) asserted liens against the patients (i.e., eventual

claimants) rather than their health insurers; and (3) sought reimbursement at the full invoice

amount rather than the reduced reimbursement rates the healthcare providers had negotiated with
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the claimants’ insurers. The parties agree that the four lawsuits are Claims alleging Wrongful

Acts under the policy. They dispute whether those Claims involve Interrelated Wrongful Acts

such that they constitute a single Claim first made before the AIIC policy period.

        On this point, AIIC applies the factual Claims to the policy language in a straightforward

way. It says the Claims are logically connected and share a nexus of at least one fact,

circumstance, or situation because all four lawsuits are premised on RevClaims’s business

decision to assert liens against patients at the hospitals’ full rates.

        Landmark and RevClaims obviously reject this construction, but they never address the

full policy language. The closest they come is a statement addressing the “causally or logically

related” language, in which they say the Claims are not connected in a “direct and traceable way”

and that the Wiggins case did not bring about the others. Landmark Mem. [50] at 15–16 (quoting

Prof’l Sols. Ins. Co. v. Mohrlang, No. 07-CV-02481-PAB-KLM, 2009 WL 321706, at *1, *9 (D.

Colo. Feb. 10, 2009) (holding that claims were not interrelated), aff’d, 363 F. App’x 650 (10th

Cir. 2010). But their authority for this argument, Mohrlang, is distinguishable because the

claims there were based on separate acts of attorney malpractice that were not connected. Here,

there is at least a logical connection between cases challenging the same practice. And

Defendants do not address the remaining clauses from the Interrelated Wrongful Acts provision

in a specific way.

        Defendants do offer general statements regarding contract construction and cases where

different courts found no interrelated wrongful acts. But those cases take the Defendants only so

far. Policy language matters. And many of Defendants’ cases address policies with different

terms or different facts. For example, Defendants cite Financial Management Advisors, LLC v.

American International Specialty Lines Insurance Co., as holding that wrongful acts are not

related when “they involve[ ] separate meetings on separate dates, unique investment decisions, and
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unique financial positions.” Landmark Mem. [53] at 6 (citing Fin. Mgmt. Advisors, LLC, 506

F.3d 922, 925 (9th Cir. 2007)). But the policy in that case did not define “related” wrongful acts.

See Fin. Mgmt. Advisors, LLC, 506 F.3d at 924. Moreover, the court noted that separate

claimants brought the claims and, “[m]ore importantly, some of the Wrongful Acts alleged by the

two clients were different.” Id. at 925 (emphasis added). Here, the AIIC policy requires a nexus

with “any” fact or circumstance and expressly includes claims brought by different claimants.

AIIC Policy [1-1] at 14.

       Defendants’ other points are not persuasive for different reasons. Relying on a case from

the Fifth Circuit and one from this district, Defendants say that Claims involving independent

business decisions tied together by no more than a common goal or business model are not

interrelated. See, e.g., RevClaims Mem. [55] at 20 (citing Fed. Deposit Ins. Corp. v. Mmahat,

907 F.2d 546, 549 (5th Cir. 1990), Burkholder v. Underwriters at Lloyd’s of London, No. 1:95-

CV-282-G-R, 1996 U.S. Dist. LEXIS 21307 (S.D. Miss. 1996)).3

       Neither Burkholder nor Mmaht support Defendants’ position on this record, but the Court

briefly review those holdings before examining the more specific arguments Defendants draw

from them. Starting with Burkholder, the district court examined a prior-acts exclusion that was

similar to the Interrelated Wrongful Acts provision here.4 Borrowing from a Pennsylvania case,

the Burkholder court observed that




       3
         Defendants argue that AIIC offers no binding authority, but neither do they. Mmahat is
based on distinguishable Louisiana law, and Burkholder is just an unpublished district-court
opinion. Neither party cites binding authority, and the Court is not aware of any. Accordingly,
this opinion makes an Erie guess. Erie R. Co. v. Tompkins, 304 U.S. 64 (1938).
       4
         The Burkholder policy defined “Interrelated Wrongful Acts” as “Wrongful Acts which
have as a common nexus any fact, circumstance, situation, event, transaction or series of facts,
circumstances, situations, events or transactions.” Id. at *18. That policy did not, however,
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       legally distinct claims “occurring at different times and for a different purpose,”
       and which involve “independent business decisions,” are not interrelated. Nor are
       claims “involving allegations of wrongdoing of one sort or another” necessarily
       determinative of the interrelatedness issue when legally distinct claims have been
       alleged.

Burkholder, 1996 U.S. Dist. LEXIS 21307, at *22 (quoting Anglo-American Ins. Co. v. Molin,

673 A.2d 986, 992–93 (Pa. Commw. 1996) (internal citations omitted)). The court ultimately

held that it lacked sufficient facts to determine whether the claims were interrelated. Id. at

*23−24.

       As for Mmahat, the insured attorney (Mmahat) encouraged a bank to make commercial

loans that violated lending regulations. 907 F.2d at 553. When the loans defaulted, the FDIC

sued Mmahat for malpractice, and the carrier argued that the claims constituted “related acts”

under the policy for purposes of the policy’s single-claim policy limit. Id. The policy did not

define “related acts,” but the Fifth Circuit construed the term to mean “acts which are ‘logically

or causally connected.’” Id. The Fifth Circuit then found that the desire to generate legal fees

motivated each wrongful act, but “a single motive does not make a single act.” Id. at 554. And

because the claims involved “three discrete acts of malpractice”—i.e., different types of

wrongful acts—the claims were not interrelated. Id.5

       Landmark and RevClaims say the current case fits neatly within Mmahat and Burkholder

because the Claims arise from a variety of discrete business decisions connected only by a

common business model or motive. See, e.g., Landmark Mem. [53] at 4–5. They then identify a



include the provision that interrelated wrongful acts include “Claims alleging acts [that] involve
the same or different claimants, Insureds or legal causes of action.” AIIC Policy [1-1] at 14.
       5
         It is worth footnoting that the Mmahat panel based its decision in part on Louisiana law
that “insurance policies should be construed against the carrier.” Id. That is not true in
Mississippi, where courts construe only ambiguous terms against the insurer. See U.S. Fid.
Guar. Co. of Miss. v. Martin, 998 So. 2d 956, 963 (Miss. 2008).
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host of factual distinctions among the Claims that produced or flowed from different business

decisions. Those distinctions include differing accident dates, lien-filing dates, lien amounts,

collection steps, tortfeasors, injuries, medical treatment, rates, insurers, and contracting hospitals.

See id. at 7−9.

       As an initial point, Defendants’ argument stretches past Mmahat and Burkholder and

conflicts with the policy language. No matter how many distinctions Defendants offer, the AIIC

Policy defines Interrelated Wrongful Acts as existing when there is a “common nexus” of “any

fact, circumstance, situation, or event.” AIIC Policy [1-1] at 14 (emphasis added). AIIC need

show only one commonality, even if many distinctions exist.

       Defendants also focus on the wrong decisions. Even under Mmahat and Burkholder, the

factual distinctions Defendants cite are not the reasons why RevClaims got sued. Simply put,

none of the four Claims seeks damages from RevClaims for business decisions related to the

accident dates, lien-filing dates, or the like. The way RevClaims asserted the liens was the

common fact, circumstance, or situation that actually premised the four Claims and logically

connected them. Or, to use a Burkholder-type analysis, the suits were all based on a common

business decision, rather than the various peripheral decisions Defendants highlight.

       The Second Circuit Court of Appeals faced a similar issue in Seneca Insurance Co. v.

Kemper Insurance Co., where Seneca insured USA Equestrian, Inc., the governing body for

equestrian sports in the United States. 133 F. App’x 770, 771 (2d Cir. 2005). USA Equestrian

denied separate applications from different entities to organize horse shows, both times citing

“mileage conflicts.” Id. at 771–72. The unsuccessful applicants sued, leading to a coverage




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dispute over a similar interrelated-acts provision.6 Like Landmark and RevClaims, the Seneca

insured highlighted the differences between the two claims, including the absence of a “business

connection” between the claimants; the fact that the failed applications were “for shows

scheduled on different dates and in different locations”; and the argument that “USA

Equestrian’s denial of [the] respective applications constituted separate and distinct acts or

transactions.” Seneca Ins. Co. v. Kemper Ins. Co., No. 02-CIV-10088(PKL), 2004 WL 1145830,

at *6 (S.D.N.Y. May 21, 2004). But like the AIIC Policy, the Seneca policy required only a

nexus with “any fact.” Id. at *5. And because the district court found “numerous logically

connected facts and circumstances between” the two suits, it held that the claims were

interrelated. Id. at *9. The Second Circuit affirmed. 133 F. App’x at 772.

       Mmahat actually highlights this distinction. There, the shared motivation was not

sufficient to relate the claims because the cases were based on different types of wrongs.

Mmahat, 907 F.2d at 554. In reaching that conclusion, the Fifth Circuit relied on Eureka Federal

Savings & Loan Association v. American Casualty, where the Ninth Circuit held that claims over

discrete loans were not interrelated. 873 F.2d 229, 235 (9th Cir. 1989). The insurance policy in

Eureka did not define interrelated acts, but the court concluded that the “mere existence of an

aggressive loan policy is insufficient as a matter of law to transform disparate acts and omissions

made by five directors in connection with issuance of loans to over 200 unrelated borrowers into

a single loss.” Id. Significantly though, the Ninth Circuit then said: “We do not foreclose the

possibility, however, that loans to separate borrowers may be aggregated as a single loss in an



       6
         The Seneca policy defined “‘Interrelated Wrongful Acts’ as ‘any and all Wrongful Acts
that have as a common nexus any fact, circumstance, situation, event, transaction, cause or series
of causally or logically connected facts, circumstances, situations, events, transactions or
causes.’” 133 F. App’x at 772.


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appropriate fact situation.” Id. The Ninth Circuit cited as an example Atlantic Permanent

Federal Savings & Loan Ass’n v. American Casualty Co., 839 F.2d 212 (4th Cir.), cert. denied,

486 U.S. 1056 (1988). And in that case, the Fourth Circuit found that defrauded claimants

presented one loss because their claims all arose from the same home-improvement-loan

program. Atl. Permanent, 839 F.2d at 219−20.

       The Claims against RevClaims are similarly related, and Defendants at least acknowledge

that RevClaims’s business model is on trial in each case. They say, however, that this is not

enough and that no reasonable insured would agree to such terms because it would cap their

policy limits. See RevClaims Mem. [55] at 27. But again, this argument is not based on the full

text of the policy language, and other courts have rejected it.

       For instance, in WFS Financial, Inc. v. Progressive Casualty Insurance Co., the insured

(“WFS”) faced two class-action suits alleging its “practice of permitting independent automobile

dealers to mark up interest rates based on subjective criteria was discriminatory to minority

applicants.” 232 F. App’x 624, 625 (9th Cir. 2007) (emphasis added). The question was

whether the suits constituted interrelated wrongful acts that would cap policy limits. Id.

Applying similar policy language,7 the court held:

       Although the suits were filed by two different sets of plaintiffs in two different
       fora under two different legal theories, the common basis for those suits was the
       WFS business practice of permitting independent dealers to mark up WFS loans.
       The harms alleged in the two class action suits are causally related and do not
       present such an “attenuated or unusual” relationship that a reasonable insured
       would not have expected the claims to be treated as a single claim under the
       policy.

Id. (emphasis added). Accordingly, the claims were deemed interrelated wrongful acts. Id.


       7
        “‘Interrelated Wrongful Acts’ are defined as ‘Wrongful Acts which have as a common
nexus any fact, circumstance, situation, event, transaction or series of related facts,
circumstances, situations, events or transactions.’” Id.


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       Other “courts have [also] found multiple claims to be sufficiently related where the

underlying actions are in service of a ‘single plan.’” Liberty Ins. Underwriters, Inc. v. Davies

Lemmis Raphaely Law Corp., 162 F. Supp. 3d 1068, 1076, 1078 (C.D. Cal. 2016) (collecting

cases and holding that “while the Underlying Actions have been brought by different plaintiffs,

they all arise from a single course of conduct”), aff’d, 708 F. App’x 374 (9th Cir. 2017); see also

Cont’l Cas. Co. v. Wendt, 205 F.3d 1258, 1264 (11th Cir. 2000) (holding that claims from

different plaintiffs were interrelated where they were based on “same course of conduct”); Hale

v. Travelers Cas. & Sur. Co. of Am., No. 3-14-1987, 2015 WL 6737904 (M.D. Tenn. Nov. 4,

2015) (holding that lawsuit by Attorney General against insured alleging same wrongful acts as

earlier customer complaints and earlier complaints were interrelated), aff’d 661 Fed. App’x 345

(6th Cir. 2016); XL Specialty Ins. Co. v. Perry, No. CV 11-02078-RGK JCGx, 2012 WL

3095331, at *8 (C.D. Cal. June 27, 2012) (construing similar policy language and holding that

underlying suits from multiple plaintiffs were related where they alleged consistent policy of

recklessly issuing high-risk mortgages); Seneca Ins. Co., 2004 WL 1145830, at *9 (concluding

claims of two separate plaintiffs sufficiently related where both alleged insured denied

applications based on same mileage rule).

       As a last note on this point, the AIIC policy goes a step further than most by expressly

saying that Interrelated Wrongful Acts includes “Claims alleging acts [that] involve the same or

different claimants, Insureds or legal causes of action.” AIIC Policy [1-1] at 14. This language

obviously broadens the clause, and in this case AIIC has shown a logical nexus with “any fact,

circumstance, situation, or event.” Id. 8



       8
          The Pledger and Wiggins cases share an additional common fact—both suits relate to
plaintiffs insured by Blue Cross and Blue Shield of Alabama and the reimbursement rates that
carrier negotiated.
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       Two final issues merit some attention. First, Defendants rely on Brad Williams’s

Declaration to prove AIIC’s construction conflicts with RevClaims’s intent. See, e.g., Landmark

Mem. [53] at 7 (citing Williams Decl. [47-1] ¶ 17). But Defendants have not argued that the

contract was ambiguous. And in those circumstances, Mississippi law looks to the policy’s four

corners: “Our concern is not nearly so much with what the parties may have intended, but with

what they said, since the words employed are by far the best resource for ascertaining the intent

and assigning meaning with fairness and accuracy.” One S., Inc. v. Hollowell, 963 So. 2d 1156,

1162–63 (Miss. 2007).

       Second, Defendants say RevClaims’s coverage with AIIC would be illusory under AIIC’s

construction because all claims related to its business would fall under the Landmark policy. See

Landmark Mem. [50] at 3. The Mississippi Supreme Court has defined “illusory promise” to

mean “words in promissory form that promise nothing; they do not purport to put any limitation

on the freedom of the alleged promisor, but leave his future action subject to his own future will,

just as it would have been had he said no words at all.” City of Starkville v. 4-Cty. Elec. Power

Ass’n, 819 So. 2d 1216, 1229 (Miss. 2002) (quoting Krebs ex rel. Krebs v. Strange, 419 So. 2d

178, 182 (Miss. 1982) (quoting Corbin on Contracts, § 145 at 211 (1952))). Here, AIIC has

promised something. If RevClaims receives an unrelated claim, it will be covered. Without

taking a deep dive into hypotheticals, the Court could foresee unrelated claims based on acts like

asserting liens against the wrong patient. Regardless, RevClaims has not demonstrated that

under AIIC’s construction its policy would truly “promise nothing.” Id.

       For these reasons, AIIC’s motion for partial summary judgment is granted and

Defendants’ motions for summary judgment are denied.




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       B.      Interlocutory Appeal

       Because no binding authority aided the Court in its construction of the Interrelated

Wrongful Acts provision, the Court certifies this Order for interlocutory appeal. Permissive

interlocutory appeals are governed by 28 U.S.C. § 1292(b), which provides,

       When a district judge, in making in a civil action an order not otherwise
       appealable under this section, shall be of the opinion that such order involves a
       controlling question of law as to which there is substantial ground for difference
       of opinion and that an immediate appeal from the order may materially advance
       the ultimate termination of the litigation, he shall so state in writing in such order.

This case meets all three requirements.

       First, the meaning of the Interrelated Wrongful Acts provision involves a question of law

that controls the outcome of this case. See Shelter Mut. Ins. Co. v. Simmons, 543 F. Supp. 2d

582, 585 (5th Cir. 2008) (“The interpretation of an insurance policy is a question of law for the

court when the meaning of the terms is clear and unambiguous.”). As to whether “there is

substantial ground for difference of opinion,” this factor may be met “when there is ‘an unsettled

state of law or judicial opinion.’” U.S. ex rel. Branch Consultants, L.L.C. v. Allstate Ins. Co.,

668 F. Supp. 2d 780, 814 (E.D. La. 2009) (quoting In re Babcock & Wilcox, Nos. 04-302, 03-

1065, 2004 WL 626288, at *2 (E.D. La. Mar. 29, 2004)). Here, there is no binding authority on

point, and some of Defendants’ arguments present close calls. Finally, “an immediate appeal

[will] materially advance the ultimate termination of the litigation.” 28 U.S.C. §1292(b). The

pending motions sought a ruling on the Interrelated Wrongful Acts provision, but the damages

related to that decision remain for further litigation. If the Court of Appeals disagrees with the

Court’s construction, then it will alter the balance of this case and entitle Defendants to summary

judgment. The Court therefore certifies this Order for interlocutory appeal pursuant to 28 U.S.C.

§1292(b).



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IV.    Conclusion

       The Court has considered all arguments. Those not specifically addressed would not

have changed the outcome. For the foregoing reasons, Plaintiff’s Motion for Partial Summary

Judgment [45] is granted, and Defendants’ Motions for Summary Judgment [47, 49] are denied.

Given the certification, the Court removes this case from the June pretrial-conference date and

the July trial setting. If any party seeks interlocutory appeal, the Court will at that time stay the

case. If not, then the parties should contact the undersigned’s Courtroom Deputy to reset the

matter for a pretrial conference.

       SO ORDERED AND ADJUDGED this the 21st day of May, 2018.

                                               s/ Daniel P. Jordan III
                                               CHIEF UNITED STATES DISTRICT JUDGE




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